                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                    Case No. 3: 06 CR 51


UNITED STATES                                     )
                                                  )
                                                  )                    ORDER
v.                                                )
                                                  )
MICHAEL LAMPKIN,                                  )
                                                  )
       Defendant.                                 )
                                                  )
                                                  )


       THIS MATTER is before the Court on Defendant’s "Motion For Admission Pro

Hac Vice" of Mr. William R. Terpening who recently joined the firm of Shumaker, Loop

& Kendrick, LLP. The Defendant notes in his motion that Mr. Terpening will be assisting

attorney Peter C. Anderson, also of Shumaker, Loop & Kendrick, who represents the

Defendant in this matter. The Motion is hereby GRANTED.

       Pursuant to Local Rule 83.1(B), counsel shall remit the required admission fee of

$100.00 to the Clerk of Court for the Western District of North Carolina within twenty-one

(21) days of this Order.

       The Clerk is directed to send copies of this Order to counsel for the parties, including

but not limited to moving counsel.

       SO ORDERED.


                                               Signed: November 8, 2006




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